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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

RICHARD HERSHEY                                                                  PLAINTIFF

v.                             Case No. 4:20-cv-01397-KGB

MAXCIE THOMAS.
KASHONDA THOMPKINS,
CLEOTIS JOHNSON, and
DANNY JENKINS                                                                  DEFENDANTS

                                           JUDGMENT

       Before the Court is a joint notice of acceptance of offer of judgment by defendants Maxcie

Thomas, Kashonda Thompkins, Cleotis Johnson, and Danny Jenkins (Dkt. No. 7). Defendants

represent that Mr. Hershey has accepted defendants’ offer of judgment dated December 17, 2020.

       Pursuant to the joint notice of acceptance of offer of judgment and Federal Rule of Civil

Procedure 68, judgment is hereby entered in favor of Mr. Hershey and against Maxcie Thomas,

Kashonda Thompkins, Cleotis Johnson, and Danny Jenkins, jointly and severally, in the amount

of $25,000.00, inclusive of all attorney’s fees and costs.

       So adjudged this 12th day of January, 2021.



                                                      ________________________________
                                                      Kristine G. Baker
                                                      United States District Judge
